Case 3:18-cv-00297-BAS-BGS Document 3 Filed 03/13/18 PageID.65 Page 1 of 4




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   International Limited BVI and Fourte
 7 International Sdn. Bhd.
 8                             UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
10 FOURTE INTERNATIONAL                          Case No. 18-cv-00297-BAS BGS
   LIMITED BVI; a British Virgin Islands
11 company; FOURTE                               EX PARTE APPLICATION FOR
   INTERNATIONAL SDN.BHD., a                     COURT ORDER AUTHORIZING
12 Malaysia company,                             SERVICE OF SUMMONS AND
                Plaintiffs,                      COMPLAINT BY THE CLERK OF
13       v.                                      COURT BY MAILING, WITH
                                                 SIGNED RETURN RECEIPT
14 PIN SHINE INDUSTRIAL CO., LTD.,               REQUESTED
   a Taiwan business company; SUZHOU
15 PINSHINE TECHNOLOGY CO.,                      (FED. RULE CIV. PROC.
   LTD.; a Peoples Republic of China             4(f)(2)(C)(ii)
16 company; SUZHOU SUNSHINE
   TECHNOLOGY CO., LTD.; a Peoples               Complaint Filed: 2/7/18
17 Republic of China company; BOBBIN
   & TOOLING ELECTRONICS                         Judge: Hon. Cynthia Bashant
18 INTERNATIONAL COMPANY OF                      Magistrate: Bernard G. Skomal
   BVI, a British Virgin Islands company,
19              Defendants.
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     P:01175250-4:07815.007                                            No. 18-cv-00297-BAS BGS
                                               -1-
                                       EX PARTE APPLICATION
Case 3:18-cv-00297-BAS-BGS Document 3 Filed 03/13/18 PageID.66 Page 2 of 4




 1            Plaintiffs FOURTE INTERNATIONAL LIMITED BVI and FOURTE
 2 INTERNATIONAL SDN.BHD (collectively, “Plaintiffs”) apply ex parte1 to
 3 request that the Court issue an Order authorizing the Clerk of Court to serve the
 4 Summons and Complaint in this action on Defendants Pin Shine Industrial Co., Ltd.
 5 (“Pin Shine”) and Bobbin & Tooling Electronics International Company
 6 (“Bobbin”) by mail, with signed return receipt requested, pursuant to Fed. Rule Civ.
 7 Proc. 4(f)(2)(C)(ii). More specifically, Plaintiffs request an Order authorizing the
 8 service via Federal Express, and Plaintiffs will provide the Clerk of Court with pre-
 9 paid Federal Express envelopes for that purpose.
10            Plaintiffs initially sent a letter to the Clerk of Court requesting such service.
11 Unlike Fed. Rule Civ. Proc. 4(f)(3), Fed. Rule Civ. Proc. 4(f)(2)(C)(ii) does not on
12 its face require a court Order. However, the Clerk of Court informed Plaintiff’s
13 counsel that it requires this Court’s Order authorizing such service.
14            Service of the Summons and Complaint on Pin Shine and Bobbin by the
15 Clerk of Court by mail, with signed return receipt requested, is permitted pursuant to
16 Fed. Rule Civ. Proc. 4(f)(2)(C)(ii). Plaintiffs are informed and believe, and on that
17 basis allege, that Pin Shine operates and maintains its place of business in Taiwan
18 and that Bobbin operates and maintains its place of business in Hong Kong. Their
19 respective mailing addresses are listed below. Under Fed. Rule Civ. Proc 4(h)(2), a
20 foreign company may be served in any manner allowed by Fed. Rule Civ. Proc. 4(f)
21 for serving an individual in a foreign country, except personal delivery under Fed
22 Rule Civ. Proc. 4(f)(2)(C)(i). Rule (4)(f)(2)(C)(ii) allows for service: “unless
23 prohibited by the foreign country’s law, by … using any form of mail that the clerk
24 addresses and sends to the individual and that requires a signed receipt.”
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26   1
     Plaintiffs have not served this ex parte application on any defendant, as no defendants
27 have  yet been served or otherwise appeared in this action. The purpose of this application
   is to achieve service on two of the defendants.
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     P:01175250-4:07815.007                                                    No. 18-cv-00297-BAS BGS
                                                   -2-
                                          EX PARTE APPLICATION
Case 3:18-cv-00297-BAS-BGS Document 3 Filed 03/13/18 PageID.67 Page 3 of 4




 1            Plaintiffs are informed and believe, and on that basis allege, that the laws of
 2 Taiwan2 and Hong Kong SAR3 do not prohibit service of judicial process by mail.
 3            Accordingly, Plaintiffs respectfully request that this Court issue an Order
 4 authorizing the Clerk of Court to serve the Summons, Complaint and Civil Cover
 5 Sheet on Pin Shine and Bobbin, at the respective addresses listed below, by Federal
 6 Express:
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 9     Numerous courts have held that mail addressed and sent by the clerk, requiring a
     signed receipt, is not prohibited by Taiwanese law and constitutes valid service.
10   SMC Networks, Inc. v. Hitron Techs., Inc., No. SACV 12-1293-JST (RNBx), 2012
     U.S. Dist. LEXIS 195715, at **4-5 (C.D. Cal. Oct. 30, 2012); SignalQuest, Inc. v.
11   Tien-Ming Chou & Oncque Corp., 2012 DNH 90, 284 F.R.D. 45, 46 (“it is
     undisputed that Taiwanese law does not expressly prohibit” service via FedEx from
12   the clerk of court”); Fujitsu Ltd. v. Belkin Int’l, Inc., No. 10-CV-03972-LHK, 2011
     U.S. Dist. LEXIS 99922, at *3 (N.D. Cal. Sept. 6, 2011) (“sid[ing] with th[e] clear
13   weight of authority” holding that “Taiwan law does not prohibit service” by clerk of
     the court; Power Integrations, Inc. v. Sys. Gen. Corp., No. C 04-02581 JSW, 2004
14   U.S. Dist. LEXIS 25414, at *3 (N.D. Cal. Dec. 7, 2004) (holding that request with
     the clerk of court to perfect service via Federal Express was valid service of process
15   on Taiwan corporation).
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16     Numerous courts have found that mail addressed and sent by the clerk, requiring
     signed receipt, is effective in Hong Kong, China. TracFone Wireless, Inc. v.
17   Unlimited PCS Inc., 279 F.R.D. 626, 628 (S.D. Fla. 2012) (Hong Kong is a party to
     the Hague Service Convention (“Convention”); however, service by postal channels
18   can be effectuated in Hong Kong in compliance with the Convention and FRCP
     4(f)(2)(C)(ii)), citing Willis v. Magic Power Co., Ltd., No. 10-4275, 2011 U.S. Dist.
19   LEXIS 3238, 2011 WL 66017, at *2 (E.D. Pa. Jan. 7, 2011) (“Neither the People’s
     Republic of China nor Hong Kong has objected under the Hague Service
20   Convention to service of process by mail in Hong Kong.”); Bequator, 717 F. Supp.
     2d at 1309 (Hong Kong does not object to judicial documents being sent by postal
21   channels under Article 10(a)); Sunstrike, 273 F.R.D. at 699 (permitting service to
     Hong Kong by postal channel where the plaintiff “attached evidence showing that,
22   with respect to Article 10(a) of the Hague Convention, Hong Kong has ‘no
     objection’ to sending judicial documents directly to persons in their jurisdiction by
23   postal channels.”); Silver Top Ltd. v. Monterey Indus. Ltd., No. 94-5731, 1995 U.S.
     Dist. LEXIS 1981, 1995 WL 70599, at *2 (S.D.N.Y. Feb. 21, 1995) (service of
24   process by registered mail to Hong Kong defendants was an appropriate method of
     service under the Convention). See also, Graphic Styles/Styles Int’l LLC v. Vinnie’s
25   Int’l H.K. Custom Tailors, No. 17-02713, 2018 U.S. Dist. LEXIS 12025, at *5 (E.D.
     Pa. Jan. 24, 2018) (“[W]e find that Hong Kong does not prohibit service of process
26   through certified mail return receipt requested”), citing Willis v. Magic Power Co.,
     Ltd., No. 10-cv-4275, 2011 U.S. Dist. LEXIS 3238, 2011 WL 66017, at *3 (E.D. Pa.
27   Jan. 7, 2011); Ackourey v. Noblehouse Custom Tailors, 2013 WL 6061365, at *3
     (E.D. Pa. Nov. 15, 2013) (service by mail on Hong Kong defendant is permissible).
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     P:01175250-4:07815.007                                                   No. 18-cv-00297-BAS BGS
                                                  -3-
                                         EX PARTE APPLICATION
Case 3:18-cv-00297-BAS-BGS Document 3 Filed 03/13/18 PageID.68 Page 4 of 4




 1 PIN SHINE INDUSTRIAL TECHNOLOGY CO., LTD
     7F, No. 3, Wuquan 1st Rd.
 2 Xinzhuang Dist.
     242 New Taipei City
 3 Taiwan
 4 BOBBIN & TOOLING ELECTRONICS INT. CO., LTD
     Panocean Secretarial Services Limited
 5 Room 1708 Kai Tak Commercial Building
     317-321 Des Voeux Road C
 6 Hong Kong SAR
 7
 8 DATED: March 13, 2018                     SOLOMON WARD SEIDENWURM &
                                             SMITH, LLP
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11                                           By: s/Tanya M. Schierling
12                                               tschierling@swsslaw.com
                                                 Attorneys for Plaintiffs Fourte International
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                                                 Limited BVI and Fourte International Sdn.
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     P:01175250-4:07815.007                                                  No. 18-cv-00297-BAS BGS
                                                  -4-
                                      EX PARTE APPLICATION
